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13
14                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
15
16                                               )   Case No.: 3:13-cv-01837-JM-JMA
      Marie St. Fort,                            )
17                                               )   JOINT MOTION FOR ORDER
18                Plaintiff,                     )   DISMISSING CASE WITH
                                                 )   PREJUDICE
19    vs.                                        )
20    Asset Acceptance, LLC; and DOES 1-         )
      10, inclusive,                             )   Judge: Jeffrey T. Miller
21                                               )
22                Defendants.                    )
                                                 )
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     Joint Motion to Dismiss                 1         Case No.: 3:13-cv-01837-JM-JMA
Case 3:13-cv-01837-JM-JMA Document 26 Filed 07/29/14 PageID.101 Page 2 of 3




 1 TO ALL PARTIES AND COUNSEL OF RECORD:
 2     Pursuant to Fed R. Civ. P. 41(a), Plaintiff, Marie St. Fort and Defendant Asset
 3 Acceptance, LLC bring this joint motion to request the Court issue an order
 4 dismissing the above-mentioned matter with prejudice.
 5
 6    DATED: July 29, 2014       By: /s/Tammy Hussin
                                    Tammy Hussin, Esq.
 7
                                    HUSSIN LAW FIRM
 8                                  Attorney for Plaintiff, Marie St. Fort
 9
10
11    DATED: July 29, 2014       By: /s/Ashley R. Fickel                    .
                                    Ashley R. Fickel, Esq.
12                                  DYKEMA GOSSETT LLP
13                                 Attorneys for Defendant, Asset Acceptance, LLC
     ORDER
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     Joint Motion to Dismiss               2        Case No.: 3:13-cv-01837-JM-JMA
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 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on July 29, 2014, the true and correct copy of JOINT
 3 MOTION FOR ORDER DISMISSING CASE WITH PREJUDICE was served
 4 electronically by the U.S. District Court, Southern District of California Electronic
 5 Document Filing System (ECF) and that the document is available on the ECF
 6 system, a true and correct copy of the foregoing was furnished via electronic filing
 7 to:
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16
                                           /s/Deborah M. Perlstein
17                                          Deborah M. Perlstein
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     Joint Motion to Dismiss                 3        Case No.: 3:13-cv-01837-JM-JMA
